Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 1 of 27




           EXHIBIT 6
       Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 2 of 27




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

_____________________________________
                                     )
IN RE: ZOFRAN (ONDANSETRON)          )
PRODUCTS LIABILITY LITIGATION, )                      MDL No. 1:15-md-2657-FDS
                                     )
This Document Relates To:            )
                                     )
      All Cases                      )
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                                         MDL Order No. 1
                                        (General Provisions)
                                          October 14, 2015

SAYLOR, D.J.

       1.      This Order shall govern the practice and procedure in those actions transferred to

this Court by the Judicial Panel on Multidistrict Litigation pursuant to its order of October 13,

2015, entitled In re: Zofran (Ondansetron) Products Liability Litigation, and any tag-along

actions transferred by the Panel after that date, and any related actions previously assigned to this

Court. This Court will decide the applicability of this Order to any case filed as a related case on

motion of any party in any such case.

       2.      The actions subject to this Order are coordinated for pretrial purposes.

       3.      An MDL master file and docket has been established under Docket No. 1:15-md-

2567-FDS. All pleadings and other papers filed in these actions shall bear this docket number

and the following caption:

               In re: Zofran (Ondansetron) Products Liability Litigation

               This Document Relates To:
       Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 3 of 27




       4.      When a pleading or other paper relates to all actions covered by this Order, the

words “All Actions” shall appear immediately after or below the words “This Document Relates

to:” in the caption. Filings related to “All Actions” shall be made in the master docket. When a

pleading or other paper relates to fewer than all actions, the separate caption and docket number

assigned by the Clerk of this Court for each individual action to which the pleading relates shall

appear immediately after or below the words ‘This Document Relates to:” in the caption. Filings

related to fewer than “All Actions” shall be made in the master docket and in each applicable

individual action.

       5.      All pleadings and other papers shall be filed electronically with the Clerk of this

Court, not the transferor court. No courtesy copies will be necessary. All counsel shall

familiarize themselves with this District’s CM/ECF policies and procedures and file an

Electronic Case Filing System-Attorney Registration Form available on the Court’s website. In

the MDL Case Number field on the ECF Registration Form, counsel shall note both the master

MDL case number and the individual Massachusetts case number in which they have appeared.

       6.      Counsel who appeared in the transferor District Court prior to the transfer need

not enter a separate appearance in this Court. No parties in any of the transferred actions shall be

required to obtain local counsel in this District and the requirements of Local Rule 83.5.3(b) are

waived as to any attorney who filed an appearance in a transferred action and is duly admitted to

practice before any United States District Court.

       7.      This Order shall be filed and docketed on the Master Docket and the docket of

each of the individual cases consolidated under the Master Docket Number, at present and

hereafter.




                                                 2
       Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 4 of 27




       8.      Any orders, other than orders setting deadlines previously entered by this or any

transferor District Court, shall remain in full force and effect unless modified by this Court upon

motion. All deadlines established prior to transfer of these actions are suspended, other than

deadlines imposed by the Federal Rules of Civil Procedure or the Local Rules of this Court for

responding to motions or other pleadings.

So Ordered.


                                                     /s/ F. Dennis Saylor
                                                     F. Dennis Saylor IV
Dated: October 14, 2015                              United States District Judge




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       Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 5 of 27




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

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IN RE: ZOFRAN (ONDANSETRON)          )
PRODUCTS LIABILITY LITIGATION, )                      MDL No. 1:15-md-2657-FDS
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                                        MDL Order No. 2
                                        November 16, 2015

SAYLOR, D.J.


                      ORDER CONCERNING ATTENDANCE AND
                    PARTICIPATION OF COUNSEL BY TELEPHONE


       This order is intended to govern the attendance and participation of counsel by telephone

in any court proceedings in this matter. Because of the large number of attorneys who seek to

attend or participate by telephone in this matter, the following rules shall apply.

       1.      Once Plaintiffs’ Lead Counsel is appointed, Counsel who wish to attend by

               telephone should notify Plaintiffs= Lead Counsel reasonably in advance of the

               proceeding. Lead Counsel shall prepare and submit to the Court a list of counsel

               appearing by telephone at or reasonably in advance of the proceeding.
      Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 6 of 27




      2.      Counsel attending by telephone will not be permitted to speak during the

              proceeding unless called upon or recognized by the Court. Counsel who wish to

              address a particular issue by telephone should endeavor to notify the Court in

              writing reasonably in advance of the proceeding, so that the Court can recognize

              counsel at an appropriate time.

      3.      There are a limited number of lines available for dial-in access. Parties are

              encouraged to dial into the call early to secure a line.

      4.      Counsel attending by telephone should endeavor to minimize background noise

              and other interference during the call. Counsel should normally mute their

              telephones, so that they can hear the proceeding but other participants will not

              hear any unwanted noise or interference.

So Ordered.




                                                     /s/ F. Dennis Saylor
                                                     F. Dennis Saylor IV
                                                     United States District Judge

Dated: November 16, 2015
       Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 7 of 27




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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IN RE: ZOFRAN (ONDANSETRON)          )
PRODUCTS LIABILITY LITIGATION, )                      MDL No. 1:15-md-2657-FDS
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                                        MDL Order No. 3
                                        November 18, 2015

                       ORDER APPOINTING LEAD COUNSEL
                 AND DESIGNATING RESPONSIBILITIES OF COUNSEL

       This order is intended to create a leadership structure for plaintiffs’ counsel in order to

organize, simplify, and streamline the handling of these matters on behalf of all plaintiffs,

consistent with the fair administration of justice.

1.     Lead Counsel

       The Court hereby appoints the following three individuals as Lead Counsel:

       Kimberly D. Barone Baden
       Motley Rice LLC
       28 Bridgeside Boulevard
       Mt. Pleasant, SC 29464
       (843) 216-9265
       kbarone@motleyrice.com

       Elizabeth Graham
       Grant & Eisenhofer P.A.
       123 S. Justison Street, 7th Floor
       Wilmington, DE 19801
       (302) 622-7099
       egraham@gelaw.com
       Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 8 of 27




       Tobias Millrood
       Pogust Braslow & Millrood LLC
       8 Tower Bridge, Suite 940
       161 Washington Street
       Conshohocken, PA 19428
       (610) 941-4204
       tmillrood@pbmattorneys.com

       The responsibilities of Lead Counsel are set forth in section 6 of this order.

2.     Liaison Counsel

       The Court hereby appoints the following individuals as Liaison Counsel:

       Robert K. Jenner and Kimberly A. Dougherty
       Janet, Jenner & Suggs, LLC
       31 St. James Avenue, Suite 365
       Boston, MA 02116
       (617) 933-1265
       RJenner@myadvocates.com
       KDougherty@myadvocates.com

       The responsibilities of Liaison Counsel are set forth in section 7 of this order.

3.     Plaintiffs’ Steering Committee

       The Court will appoint individuals to the Plaintiffs’ Steering Committee (“PSC”) in a

future order.

       The responsibilities of the PSC are set forth in section 8 of this order.

4.     Changes in Membership

       These appointments are personal in nature, and may not be changed without court order.

5.     Designated Counsel

       The PSC may appoint other qualified counsel to perform legal services for the common

benefit of plaintiffs (“Designated Counsel”).

6.     Responsibilities of Lead Counsel

       Lead Counsel shall have the following responsibilities:

                                                 2
Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 9 of 27




     1.    to chair the PSC, which shall be generally responsible for coordinating the

           activities of plaintiffs’ counsel during pretrial proceedings;

     2.    to present, after consultation with the PSC and other counsel as may be

           appropriate, personally or by a designee, the position of the plaintiffs on

           any matter arising during pretrial proceedings;

     3.    to delegate specific tasks to other counsel to ensure that pretrial

           preparation for the plaintiffs is conducted effectively, efficiently, and

           economically, including the creation of subject matter-specific or other

           working groups;

     4.    to prepare and distribute to the parties periodic status reports, as

           appropriate;

     5.    to prepare and to ensure the preparation by others of adequate and

           reasonable time and disbursement records where appropriate;

     6.    to coordinate and lead discussions with the Court, other plaintiffs’ counsel,

           defense counsel, and non-parties to ensure that court orders are followed,

           schedules are met, discovery is conducted and provided consistent with

           the requirements of Fed. R. Civ. P. 26, unnecessary expenditures of time

           and funds are avoided, and any negotiations are reasonably efficient and

           productive;

     7.    to coordinate, with the assistance of the Liaison Counsel, with counsel in

           related state-court litigation, in order to avoid duplicative discovery,

           including minimizing the number of depositions taken of each witness,

           minimizing the number of lawyers who question witnesses at depositions,



                                      3
     Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 10 of 27




                    and reducing duplicative questioning;

            8.      to maintain an up-to-date comprehensive service list of plaintiffs’ counsel

                    in this MDL proceeding and promptly advise the Court of any changes;

            9.      to receive and distribute to plaintiffs’ counsel, as appropriate, orders,

                    notices, and correspondence from the Court;

            10.     to maintain and make available to other plaintiffs’ counsel, on reasonable

                    notice and at reasonable times, a complete set of all pleadings and orders

                    filed and/or served in this MDL proceeding;

            11.     to establish and maintain, in conjunction with the PSC and to the extent

                    deemed desirable by the PSC, a physical or virtual depository of

                    documents located within the Court’s jurisdiction, or otherwise accessible

                    to all plaintiffs’ counsel; and

            12.     to participate in any class or group settlement discussions.

7.   Responsibilities of Liaison Counsel

     Liaison Counsel shall have the following responsibilities:

            1.      where practicable, to communicate with attorneys prosecuting related

                    state-court actions in order to ascertain their status;

            2.      to provide information about related state-court proceedings to the Court

                    and counsel;

            3.      to help coordinate discovery and litigation efforts between state and

                    federal proceedings to avoid, where possible, duplicative or conflicting

                    efforts;

            4.      to assist in providing access to participating state-court counsel to any



                                               4
     Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 11 of 27




                   common-benefit document depository and common-benefit work-product,

                   in accordance with the terms of any common-benefit orders entered by the

                   Court; and

            5.     to assist lead counsel in coordinating the efforts of all counsel in all

                   pending cases, whether part of this MDL proceeding or not.

8.   Responsibilities of PSC

     The PSC shall have the following responsibilities:

     A.     Discovery

            1.     to initiate, coordinate, and conduct all pretrial discovery on behalf of

                   plaintiffs in all actions subject to this order;

            2.     to develop and propose to the Court schedules for the commencement,

                   execution, and completion of all discovery on behalf of all plaintiffs;

            3.     to cause to be issued in the name of all plaintiffs the necessary discovery

                   requests, motions, and subpoenas concerning any witnesses and

                   documents needed to prepare for the trial of this litigation (similar

                   requests, motions, and subpoenas may be caused to be issued by the PSC

                   upon written request by an individual attorney in order to assist him or her

                   in the preparation of the pretrial stages of his or her client’s particular

                   claims); and

            4.     to conduct all discovery, by members or their designees approved by Lead

                   Counsel, in a coordinated and consolidated manner on behalf and for the

                   benefit of all plaintiffs.




                                                5
Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 12 of 27




B.    Hearings and Meetings

      1.      to call meetings of counsel for plaintiffs for any appropriate purpose,

              including coordinating responses to questions of other parties or of the

              Court;

      2.      to initiate proposals, suggestions, schedules, or joint briefs, and any other

              appropriate matters concerning pretrial proceedings;

      3.      to examine witnesses and introduce evidence at hearings on behalf of

              plaintiffs; and

      4.      to speak for all plaintiffs at pretrial proceedings and in response to any

              inquiries by the Court, subject to the right of any plaintiff’s counsel to

              present non-repetitive individual or different positions.

C.    Trial

      1.      to coordinate the selection, management, and presentation of any common

              issue, “bellwether,” and/or “test” case trials.

D.    Settlement and Miscellaneous

      1.      to negotiate and propose settlement of cases on behalf of plaintiffs or

              plaintiff groups, including exploring and, where appropriate, pursuing all

              settlement options concerning any claim or portion of any case filed in this

              litigation;

      2.      to litigate any motions presented to the Court that involve matters within

              the responsibilities of the PSC;

      3.      to negotiate and enter into stipulations with defendants concerning this

              litigation, subject where appropriate to the objections of individual counsel



                                         6
       Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 13 of 27




                       and/or the approval of the Court;

               4.      to maintain adequate files of all discovery and pretrial matters, including

                       establishing and maintaining a document or exhibit depository, in either

                       real or virtual format, and having those documents available, under

                       reasonable terms and conditions, for examination by all plaintiffs’ counsel;

               5.      to perform any task necessary and proper for the PSC to accomplish its

                       responsibilities, including organizing subcommittees or workgroups

                       comprised of plaintiffs’ attorneys not on the PSC and assigning them tasks

                       consistent with the duties of the PSC; and

               6.      to perform such other functions as may be expressly authorized by further

                       orders of this Court.

9.     Privileged Communications

       Because cooperation among counsel and the parties is essential for the orderly and

expeditious resolution of the litigation, the communication, transmission, or dissemination of

information among plaintiffs’ counsel shall be subject to the joint attorney-client privilege and

the protections afforded by the attorney work-product doctrine; provided, however, that the

conditions necessary to create such a privilege or protection have been satisfied and the privilege

or protection has not been waived.

So Ordered.


                                                     /s/ F. Dennis Saylor
                                                     F. Dennis Saylor IV
Dated: November 18, 2015                             United States District Judge




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         Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 14 of 27




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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IN RE: ZOFRAN (ONDANSETRON)          )
PRODUCTS LIABILITY LITIGATION, )                       MDL No. 1:15-md-2657-FDS
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This Document Relates To:            )
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                                         MDL Order No. 4
                                         November 18, 2015

                        ORDER STAYING RESPONSIVE PLEADINGS

         In the interests of judicial economy, all deadlines to file responsive pleadings are stayed

in all transactions to this Court in this multidistrict proceeding pending further order of this

Court.

So Ordered.


                                                       /s/ F. Dennis Saylor
                                                       F. Dennis Saylor IV
Dated: November 18, 2015                               United States District Judge
       Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 15 of 27




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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IN RE: ZOFRAN (ONDANSETRON)          )
PRODUCTS LIABILITY LITIGATION, )                       MDL No. 1:15-md-2657-FDS
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                                            MDL Order No. 5
                                            November 18, 2015

                  ORDER CONCERNING APPEARANCES OF COUNSEL

        1.      Counsel in any individual case transferred to this Court as part of this MDL

proceeding who appeared in that case in the transferor District Court prior to the transfer need

not enter a separate appearance in this Court in that individual case. Such counsel must,

however, file an appearance in the master docket in order to ensure that the Court can maintain

an accurate master list of counsel.

        2.      Counsel who filed an appearance in an individual case transferred to this Court

and who is duly admitted to practice before any United States District Court may appear in this

matter without the filing and allowance of a motion to appear pro hac vice.

        3.      No parties in any of the individual cases transferred to this Court shall be required

to obtain local counsel in this District.

        4.      Any attorney who appears in this matter in accordance with this order shall be

subject to the Local Rules of this Court, including its attorney disciplinary rules.

        5.      This order supersedes the provisions of paragraph 6 of MDL Order No. 1 (filed
      Case 3:16-md-02691-RS Document 144-6 Filed 11/21/16 Page 16 of 27




October 14, 2015).

So Ordered.


                                          /s/ F. Dennis Saylor
                                          F. Dennis Saylor IV
Dated: November 18, 2015                  United States District Judge




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        Case3:16-md-02691-RS
              1:15-md-02657-FDSDocument 144-6
                                 Document 113 Filed
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                                                     12/17/15 Page
                                                               Page17 of 327
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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IN RE: ZOFRAN (ONDANSETRON)         )
PRODUCTS LIABILITY LITIGATION, )                       MDL No. 1:15-md-2657-FDS
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                                         MDL Order No. 6
                                         December 17, 2015

                     ORDER CONCERNING DIRECT FILING OF CASES


SAYLOR, J.

        1.      In order to avoid delays associated with transfer to this Court of cases filed in or

removed to other federal district courts, and to promote judicial efficiency, any plaintiff whose

case would be subject to transfer to this MDL proceeding may file his or her case directly in the

United States District Court for the District of Massachusetts in accordance with the procedures

set forth in this order.

        2.      Any complaint filed directly in this MDL proceeding must (a) comport with the

Federal Rules of Civil Procedure and any MDL Orders in this proceeding, (b) specifically allege

the district court in which the plaintiff would have otherwise filed the case, absent this order, and

(c) specifically allege the jurisdictional and venue basis for filing in that other court. If any

complaint fails to comply with this provision, the plaintiff will have 30 days after notification by

any defendant to file an amended complaint to cure the defect. Failure to file an amended

complaint that complies with this provision may result in the dismissal of the complaint without

prejudice.
       Case
        Case3:16-md-02691-RS
              1:15-md-02657-FDSDocument 144-6
                                 Document 113 Filed
                                               Filed11/21/16
                                                     12/17/15 Page
                                                               Page18 of 327
                                                                    2 of



        3.        No defendant may challenge the venue of any action filed directly in this MDL

proceeding pursuant to this order until pretrial proceedings have concluded. The inclusion of

any action in this MDL proceeding, whether such action was or will be filed originally or

directly in this district, shall not constitute a determination by this Court that venue is proper in

this District.

        4.        Except as proved in this order, no direct filing shall operate to waive or otherwise

limit any defendant’s rights with respect to file motions to dismiss or to transfer based on

improper venue, forum non conveniens, lack of personal jurisdiction, or the requirements of 28

U.S.C. § 1407(a) and Lexecon, Inc. v. Milberg Weiss, 523 U.S. 26 (1998).

        5.        At the conclusion of pretrial proceedings, should the parties agree (1) that a case

filed directly in this MDL proceeding should be transferred and (2) that the case should be

transferred to a particular district, the parties will jointly advise the Court of the district to which

the case should be transferred. Absent agreement by the parties, this Court shall transfer direct-

filed cases to the district court where the plaintiff would have otherwise filed absent this order, as

specified in Paragraph 2. For purposes of choice-of-law analysis, the specified district court

shall be treated as if it were a transferor court.

        6.        The fact that a case was filed directly in this MDL proceeding shall have no

impact on the choice-of-law analysis and shall have no impact on the statute of limitations that

otherwise would apply to an individual case had it been originally filed in another district court

and transferred to this Court pursuant to 28 U.S.C. § 1407.

        7.        The filing of a complaint directly in this MDL proceeding pursuant to this order

shall toll the running of any limitations period as if the complaint had been filed in another

district court.



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        Case3:16-md-02691-RS
              1:15-md-02657-FDSDocument 144-6
                                 Document 113 Filed
                                               Filed11/21/16
                                                     12/17/15 Page
                                                               Page19 of 327
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       8.      Counsel in any individual case filed directly in this MDL proceeding pursuant to

this order must file an appearance in the master docket in order to ensure that the Court can

maintain an accurate master list of counsel.

       9.      Counsel in any individual case filed directly in this MDL proceeding and who is

duly admitted to practice before any United States District Court may appear in this matter

without the filing and allowance of a motion to appear pro hac vice.

       10.     No parties in any individual case filed directly in this MDL proceeding shall be

required to obtain local counsel in this District.

       11.     Any attorney who appears in this matter in accordance with this order shall be

subject to the Local Rules of this Court, including its attorney disciplinary rules.

So Ordered.


                                                         /s/ F. Dennis Saylor
                                                         F. Dennis Saylor IV
Dated: December 17, 2015                                 United States District Judge




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        Case3:16-md-02691-RS
              1:15-md-02657-FDSDocument 144-6
                                 Document 114 Filed
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                                                     12/17/15 Page
                                                               Page20 of 227
                                                                    1 of



                            UNITED STATES DISTRICT COURT
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IN RE: ZOFRAN (ONDANSETRON)         )
PRODUCTS LIABILITY LITIGATION, )                      MDL No. 1:15-md-2657-FDS
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                                        MDL Order No. 7
                                        December 17, 2015

       ORDER CONCERNING WAIVER OF FORMAL SERVICE OF PROCESS
               AS TO DEFENDANT GLAXOSMITHKLINE, LLC



SAYLOR, J.

       In an effort to simplify the procedure for serving process in this litigation, plaintiffs and

defendant GlaxoSmithKline LLC (“GSK”), have agreed, and the Court hereby orders, as

follows:

       1.      GSK will waive formal service of process of all summons and complaints filed in

or transferred to this MDL in accordance with the procedures set forth in this order.

       2.      GSK specifically does not agree to waiver of formal service of process for any

direct or indirect parent, subsidiary, or division of GSK.

       3.      For each case, counsel for a plaintiff may request a waiver of formal service of

process from GSK after the filing of a complaint by e-mailing a file-stamped copy of the complaint

and a request for waiver of service pursuant to Fed. R. Civ. P. 4 within 30 business days of the date

of filing. Counsel for plaintiff shall send those materials to the following e-mail address:

zofranwaivers@shb.com.
       Case
        Case3:16-md-02691-RS
              1:15-md-02657-FDSDocument 144-6
                                 Document 114 Filed
                                               Filed11/21/16
                                                     12/17/15 Page
                                                               Page21 of 227
                                                                    2 of



       4.      Counsel for GSK shall return the signed waiver request to counsel for the

requesting plaintiff within the time permitted by Fed. R. Civ. P. 4.

       5.      Any plaintiff submitting a request for waiver shall not seek to hold GSK in default

for failure to timely answer a complaint or to enter an appearance in a case in which service has

been accomplished pursuant to the terms of this order without first giving GSK written notice of

the alleged default and ten business days in which to cure any alleged defect.

       6.      Except for good cause shown or by prior agreement by the parties, all responsive

pleading obligations on behalf of any direct or indirect parent, subsidiary, or division of GSK

shall be stayed pending further order of this Court.

       7.      These procedures are for purposes of efficiency in serving process in this MDL

proceeding only. They do not constitute a waiver of defenses for lack of personal jurisdiction,

improper venue, or any other defense a defendant may raise in its answer or by subsequent

motion.

       8.      The parties have agreed that by complying with the procedures set forth in this

order, a plaintiff has fulfilled his or her obligations under Rule 4 of the Federal Rules of Civil

Procedure.

So Ordered.


                                                       /s/ F. Dennis Saylor
                                                       F. Dennis Saylor IV
Dated: December 17, 2015                               United States District Judge




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        Case3:16-md-02691-RS
              1:15-md-02657-FDSDocument 144-6
                                 Document 115 Filed
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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IN RE: ZOFRAN (ONDANSETRON)         )
PRODUCTS LIABILITY LITIGATION, )                       MDL No. 1:15-md-2657-FDS
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                                        MDL Order No. 8
                                        December 17, 2015

                 ORDER APPOINTING PLAINTIFFS’ STEERING COMMITTEE

SAYLOR, J.

       This order is intended to create a committee structure for plaintiffs’ counsel in order to

organize, simplify, and streamline the handling of this litigation on behalf of all plaintiffs,

consistent with the fair administration of justice. This order follows MDL Order No. 3, in which

the Court appointed both Lead and Liaison Counsel.

 1.    Plaintiffs’ Steering Committee

       The Court hereby appoints the following individuals to the Plaintiffs’ Steering

 Committee (“PSC”):

 Edward Blizzard, Esquire                         Kate Jaycox, Esquire
 Blizzard & Nabers                                Robins Kaplan, LLP
 440 Louisiana, #1710                             2800 LaSalle Plaza
 Houston, TX 77002                                Minneapolis, MN 55402
 Business Phone: 713-844-3750                     Business Phone: 612-349-8452
 E-Mail: eblizzard@blizzardlaw.com                E-Mail: kjaycox@robinskaplan.com

 Russell Budd, Esquire                            Walter Kelley, Esquire
 Baron and Budd P.C.                              Kelley Bernheim Dolinsky, LLC
 3102 Oak Lawn Avenue, Suite 1100                 Four Court Street
 Dallas, TX 75219                                 Plymouth, MA 02360
 Business Phone: 214-521-3605                     Business Phone: 508-747-8854
 E-Mail: rbudd@baronbudd.com                      E-Mail: walterkelley@duejustice.comm
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       Case3:16-md-02691-RS
             1:15-md-02657-FDSDocument 144-6
                                Document 115 Filed
                                              Filed11/21/16
                                                    12/17/15 Page
                                                              Page23 of 627
                                                                   2 of



 Amy Eskin, Esquire                          James Klick, Esquire
 Levin Simes                                 Herman, Herman & Katz
 44 Montgomery Street, Floor 32              820 O'Keefe Avenue
 San Francisco, CA 94104                     New Orleans, LA 70113
 Business Phone: 415-426-3000                Phone: 504-581-4892
 E-Mail: aeskin@levinsimes.com               Email: jklick@hhklawfirm.comm

 Wendy Fleishman, Esquire                    Arthur Murray, Esquire
 Lieff, Cabraser, Heimann & Bernstein,LLP    Murray Law Firm
 780 Third Avenue, 48th Floor                650 Poydras Street, Suite 2150
 New York, NY 10017                          New Orleans, LA 70130
 Business Phone: 212-355-9500                Business Phone: 504-525-8100
 Fax: 212-355-9592                           E-Mail: amurray@murray-lawfirm.comm
 E-Mail: wfleishman@lchb.comm

 Jeffrey Gibson, Esquire                     Steven Rotman, Esquire
 Cohen & Malad, LLP                          HAUSFELD
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2.    Changes in Membership

      These appointments are personal in nature, and may not be changed without Court

      order.

3.    Responsibilities of PSC

      The PSC shall have the following responsibilities:

                                              2
Case
 Case3:16-md-02691-RS
       1:15-md-02657-FDSDocument 144-6
                          Document 115 Filed
                                        Filed11/21/16
                                              12/17/15 Page
                                                        Page24 of 627
                                                             3 of



 A.    Discovery

      1.     to initiate, coordinate, and conduct all pretrial discovery on behalf of

             plaintiffs in all actions subject to this order;

      2.     to develop and propose to the Court schedules for the commencement,

             execution, and completion of all discovery on behalf of all plaintiffs;

      3.     to cause to be issued in the name of all plaintiffs the necessary discovery

             requests, motions, and subpoenas concerning any witnesses and

             documents needed to prepare for the trial of this litigation (similar

             requests, motions, and subpoenas may be caused to be issued by the PSC

             upon written request by an individual attorney in order to assist him or her

             in the preparation of the pretrial stages of those particular claims

             supported by the PSC); and

      4.     to conduct all discovery, by members or their designees approved by Lead

             Counsel, in a coordinated and consolidated manner on behalf and for the

             benefit of all plaintiffs.

B.     Additional Duties

       1.     to fund this litigation for the benefit of all plaintiffs, voluntarily and

              without further order of this Court. Should any PSC member fail to

              perform this duty timely, he or she agrees that he or she shall be

              dismissed from the PSC without further order of this Court.

       2.     In addition to the aforementioned duties, the Court recognizes that the

              following PSC members have been designated by Lead Counsel as

              members of a de facto Executive Committee, responsible for assisting

              Lead Counsel in guiding the litigation: attorneys Edward Blizzard,

                                          3
Case
 Case3:16-md-02691-RS
       1:15-md-02657-FDSDocument 144-6
                          Document 115 Filed
                                        Filed11/21/16
                                              12/17/15 Page
                                                        Page25 of 627
                                                             4 of



               Russell Budd, Wendy Fleishman, and Walter Kelley. This group of

               counsel will assist Lead and Liaison Counsel in making strategic and

               policy decisions and will help fund this litigation with a higher level of

               financial commitment and participate in a greater share of the workload,

               at the direction of Lead and Liaison Counsel and by order of the Court.

C.    Hearings and Meetings

      1.      to call meetings of counsel for plaintiffs for any appropriate purpose,

              including coordinating responses to questions of other parties or of the

              Court;

      2.      to initiate proposals, suggestions, schedules, and/or joint briefs, and any

              other appropriate matters concerning pretrial proceedings;

      3.      to examine witnesses and introduce evidence at hearings on behalf of

              plaintiffs; and

      4.      to speak for all plaintiffs at pretrial proceedings and in response to any

              inquiries by the Court, subject to the right of any plaintiff’s counsel to

              present non-repetitive individual or different positions.

D.    Trial

      1.      to coordinate the selection, management, and presentation of any common

              issue, “bellwether” and/or “test case” trials.

E.    Settlement and Miscellaneous

      1.      to negotiate and propose settlement of cases on behalf of plaintiffs or

              plaintiff groups, including exploring and, where appropriate, pursuing

              settlement options concerning any claim or portion thereof of any case

              filed in this litigation;
                                          4
     Case
      Case3:16-md-02691-RS
            1:15-md-02657-FDSDocument 144-6
                               Document 115 Filed
                                             Filed11/21/16
                                                   12/17/15 Page
                                                             Page26 of 627
                                                                  5 of



            2.     to litigate any motions presented to the Court that involve matters within

                   the sphere of the responsibilities of the PSC;

            3.     to negotiate and enter into stipulations with defendants concerning this

                   litigation; provided, however, that all stipulations entered into by the PSC,

                   except for strictly administrative details such as scheduling, must be

                   submitted for Court approval and will not be binding until the Court has

                   ratified the stipulation, and that any attorney not in agreement with a non-

                   administrative stipulation shall file with the Court a written objection

                   thereto within five days after he/she knows or should have reasonably

                   become aware of the stipulation, and that failure to object within the term

                   allowed shall be deemed a waiver and the stipulation will automatically be

                   binding on that party;

            4.     to maintain adequate files of all pretrial matters, including establishing and

                   maintaining a document or exhibit depository, in either real or virtual

                   format, and having those documents available, under reasonable terms and

                   conditions, for examination by all plaintiffs’ counsel;

            5.     to perform any task necessary and proper for the PSC to accomplish its

                   responsibilities as defined by the Court’s orders, including organizing

                   subcommittees or workgroups comprised of plaintiffs’ attorneys not on the

                   PSC and assigning them tasks consistent with the duties of the PSC; and

            6.     to perform such other functions as may be expressly authorized by further

                   orders of this Court.

4.   Privileged Communications

     Because cooperation among counsel and the parties is essential for the orderly and

                                             5
       Case
        Case3:16-md-02691-RS
              1:15-md-02657-FDSDocument 144-6
                                 Document 115 Filed
                                               Filed11/21/16
                                                     12/17/15 Page
                                                               Page27 of 627
                                                                    6 of



expeditious resolution of the litigation, the communication, transmission, or dissemination of

information among plaintiffs’ counsel shall be subject to the joint attorney-client privilege and

the protections afforded by the attorney work-product doctrine; provided, however, that the

conditions necessary to create such a privilege or protection have been satisfied and the privilege

or protection has not been waived.

So Ordered.


                                                     /s/ F. Dennis Saylor
                                                     F. Dennis Saylor IV
Dated: December 17, 2015                             United States District Judge




                                                 6
